             Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 1 of 39



                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DANIEL KEEGAN, SHON MECKFESSEL on
behalf of themselves and all others similarly situated,
                                                          Civil Action No. ___________
                                Plaintiff,

                         – against –
                                                          COMPLAINT -- CLASS ACTION
PENNSYLVANIA HIGHER EDUCATION
ASSISTANCE AGENCY, D/B/A FEDLOAN                          JURY TRIAL DEMANDED
SERVICING, D/B/A AMERICAN EDUCATION
SERVICES,

                                Defendant.



        Plaintiffs Daniel Keegan and Shon Meckfessel (collectively, “Plaintiffs”), individually and on

behalf of those similarly situated, bring this class action against Defendant Pennsylvania Higher

Education Assistance Agency (d/b/a FedLoan Servicing and d/b/a American Education Services)

(“PHEAA” or “Defendant”) for its violations of law from at least as early as June 1, 2009 through

the present (“Class Period”), and upon knowledge, the investigation of counsel, and information and

belief, allege as follows:

                                   NATURE OF THE ACTION

        1.       Student loan debt is now the largest category of non-housing related consumer debt

in the United States with more than $1.34 trillion outstanding at the end of June 2017. The

overwhelming majority of student loans in the United States are owned by the federal government

through the U.S. Department of Education (“DOE” or the “Department of Education”).

        2.       Since June 2009, PHEAA has served as one of four primary servicers of federal

student loan debt. PHEAA’s loan servicing business operates as FedLoan Servicing (“FedLoan”)

and manages a loan portfolio worth approximately $330 billion.

                                                    1
             Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 2 of 39



        3.       The Department of Education pays PHEAA an average monthly fee of $2.09 for

each of the approximately 7.5 million unique borrowers PHEAA services. PHEAA also earns

interest on student loans in its portfolio, in addition to receiving subsidies and special allowance

payments from the Department of Education.

        4.       In exchange, PHEAA acts as a middleman between the Department of Education

and the borrowers of federally-owned loans. PHEAA is responsible for not only collecting loan

payments, but also offering payment plans, providing advice, and administering federal programs

designed to help borrowers effectively manage the increasing cost of higher education. This includes

several Alternative Loan Repayment Programs (“ALRPs”), which provide qualifying borrowers with

relief from student loan debt by adjusting their payments to a reasonably affordable amount based

on their income, occupation, and family size. Borrowers enrolled in an ALRP can also apply to have

their federal loans forgiven after a certain number of payments and/or meeting other criteria.

        5.       In February 2012, the Department of Education made PHEAA solely responsible

for administering two ALRPs: the Public Service Loan Forgiveness (“PSLF”) program and the

Teacher Education Assistance for College and Higher Education (“TEACH”) grant program.

        6.       Congress specifically designed the PSLF and TEACH programs to make higher

education more affordable for public servants and teachers by providing financial assistance to

reduce the burden of their student loans. This includes complete forgiveness of federal student debt

for borrowers who commit to ten years of qualifying public service employment and tuition grants

of up to $4,000 per year for borrowers who commit to four years of qualifying teaching.

        7.       The PSLF and TEACH programs benefit borrowers (and America) by attracting

candidates to pursue careers in public service, like teaching, encouraging students to enter

tremendously valuable professions by providing loan forgiveness to make the necessary education

significantly more affordable. However, helping borrowers discharge their debt sooner directly

                                                    2
            Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 3 of 39



conflicted with PHEAA’s own financial interest in keeping loans active for as long as possible to

continue collecting monthly servicing fees.

       8.       So, PHEAA implemented a scheme during the Class Period to boost revenue by

extending the duration of loans in its portfolio through at least three unlawful means:

       9.       First, PHEAA delayed or failed to process original applications and annual

certification paperwork under the PSLF and TEACH programs. By delaying or failing to process

borrowers’ application and re-certification paperwork, PHEAA extended the duration of loans in

the PSLF and TEACH programs, allowing PHEAA to collect more in monthly servicing fees. This

misconduct directly injured borrowers who were required to make additional payments and remain

in qualifying employment for loans that otherwise would have been forgiven.

       10.      Second, PHEAA delayed or failed to process applications for federal Income Driven

Repayment (“IDR”) plans, including specifically the new Revised Pay As You Earn (“REPAYE”)

program created in 2015. These IDR plans allow borrowers to make lower monthly payments based

on their income and family size. They also provide for loan forgiveness after at least twenty years of

repayment. PHEAA’s processing delays prevented borrowers from making qualifying payments

toward this twenty-year repayment period, increasing the amount of servicing fees it collects by

extending the duration of loans in an IDR plan.

       11.      Third, PHEAA improperly placed borrowers making timely loan payments into

deferment or forbearance status—a designation typically reserved for situations where the borrower

seeks relief from its payment obligations due to financial hardship. Borrowers who are in deferment

or forbearance cannot make qualifying payments that count towards loan forgiveness under the

PLSF, TEACH or IDR programs even though PHEAA continues to collect fees for servicing their

loans. Thus, PHEAA’s abuse of the deferment and forbearance process artificially increased revenue

and extended the duration of loans in the PSLF, TEACH, and IDR programs.

                                                   3
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 4 of 39



        12.     Reports published by the Consumer Financial Protection Bureau (“CFPB”) describe

complaints from borrowers nationwide of identical, widespread misconduct by PHEAA in its

exploitation of the PSLF, TEACH, and IDR programs. These unlawful acts not only caused

borrowers to deal with inconvenience and headaches but also to suffer measurable financial harm

when: (a) the duration of their loans were extended; (b) interest accrued on the principal balance of

loans during unrequested periods of deferment or forbearance; (c) TEACH grants were improperly

converted into loans, with interest; (d) monthly payments under IDR programs were billed at

inaccurate levels; and (e) they were charged additional fees due to delay in processing their

applications for the PSLF, TEACH, and IDR programs.

        13.     PHEAA’s comprehensive strategy to increase loan duration and generate greater

servicing fees during the Class Period was hugely successful. Financial statements show that

PHEAA’s revenue from servicing federally-owned student loans has increased each year, a direct

result of the unlawful acts alleged in this Complaint.

        14.     This increase in revenue comes at the expense of borrowers, like Plaintiffs and the

Class, who were subjected to one or more of PHEAA’s illegal tactics while their loans were serviced

by FedLoan. As a result, Plaintiffs and the Class have either lost out on months or years of

qualifying loan payments that would have brought them closer to loan forgiveness under the PSLF,

TEACH, and IDR programs; have incurred thousands of dollars in additional student debt when

their TEACH grants were converted into loans; been overcharged; or otherwise disadvantaged when

they were unable to utilize federal programs designed to make their education more affordable.

        15.     Based on the continuing complaints described by the CFPB and pervasive nature of

Defendant’s misconduct, Plaintiffs believe that further evidentiary support for their claims, as

alleged herein, will be revealed after a reasonable opportunity for discovery.




                                                   4
           Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 5 of 39



                                  JURISDICTION AND VENUE

        16.      This Court has minimal-diversity jurisdiction under the Class Action Fairness Act

(“CAFA”), 28 U.S.C. § 1332(d)(2), because the aggregate amount in controversy exceeds the sum or

value of $5,000,000, exclusive of interest and costs, and Defendant PHEAA is a citizen or subject of

the Commonwealth of Pennsylvania, while there are Class members (including Plaintiffs) who are

citizens of a different State.

        17.      This Court has general personal jurisdiction over PHEAA because PHEAA is

incorporated in and has its principal place of business in Pennsylvania.

        18.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), (c), and (d) because

during the Class Period the Defendant resided, transacted business, was found, or had agents in the

Eastern District of Pennsylvania, including from an office in Chester, Pennsylvania.

                                               PARTIES

                 Plaintiffs

                     a. Plaintiff Daniel Keegan

        19.      Plaintiff Daniel Keegan (“Keegan”) is a resident of New York County, New York.

Plaintiff Keegan used federal student loans to pay for his graduate school education. He also

received TEACH grants. Following graduation, Plaintiff Keegan entered qualifying employment as a

teacher in New York City and enrolled in the PSLF program along with an IDR plan, while fulfilling

his commitment under the TEACH program. FedLoan is currently Plaintiff Keegan’s loan servicer.

        20.      PHEAA harmed Plaintiff Keegan when it failed to process his annual TEACH

employment recertification forms. As a result, PHEAA incorrectly converted Plaintiff Keegan’s

TEACH grants into student loans, increasing the principal amount of debt (and interest owed on

that debt) by thousands of dollars.




                                                    5
           Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 6 of 39



       21.      Plaintiff Keegan was also harmed by FedLoan’s failure to correctly process qualifying

payments made under the TEACH and PSLF programs. This resulted in Plaintiff Keegan losing

credit for months of payments that should have counted towards loan forgiveness.

       22.      PHEAA’s misconduct has therefore injured Plaintiff Keegan by increasing the

amount of his student loan debt and significantly extending the number of qualifying payments

required to seek forgiveness of those loans.

             a. Plaintiff Shon Meckfessel

       23.      Plaintiff Shon Meckfessel is a resident of King County, Washington. Plaintiff

Meckfessel used federal student loans to pay for his undergraduate and graduate education.

Following graduation, Plaintiff Meckfessel entered qualifying employment as a community college

professor and attempted to enroll in an IDR plan and the PSLF program through his loan servicer,

FedLoan.

       24.      PHEAA falsely informed Plaintiff Meckfessel that he was not eligible for any IDR

plan, requiring him to enroll in a repayment plan which did not offer loan forgiveness or qualify for

the PSLF program. Based on PHEAA’s false and misleading information, Plaintiff Meckfessel made

payments under a non-qualifying plan for approximately 3 years. None of these payments counted

as “qualifying payments” under the PSLF program.

       25.      Plaintiff Meckfessel was eligible for an IDR plan at the time PHEAA forced him into

another repayment plan. Following repeated inquiries, PHEAA eventually enrolled Plaintiff

Meckfessel in the REPAYE plan years after he first contacted them about repayment options. This

resulted in him being eligible for opportunities for loan forgiveness and benefits unavailable to him

while on the previous repayment plan.

       26.      PHEAA harmed Plaintiff Meckfessel by repeatedly providing false and misleading

information that prevented him from enrolling in an ALRP. As a result, Plaintiff Meckfessel lost

                                                  6
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 7 of 39



credit for years of qualifying public service employment that would have counted towards loan

forgiveness under the PSLF program. This significantly extended the duration of his loans and thus

the number of qualifying payments before he can obtain loan forgiveness, increasing the amount

Plaintiff Meckfessel must pay over the life of his loan, including the amount he must pay in interest.

               Defendant

       27.     Defendant PHEAA is incorporated under the laws of the Commonwealth of

Pennsylvania, 24 P.S. § 5101 and headquartered at 1200 North 7th Street, Harrisburg, Pennsylvania

17102. PHEAA was originally formed by the Pennsylvania General Assembly in 1963 as a public

corporation with the goal of improving higher education opportunities for Pennsylvania residents by

funding student loans and grants. Since then, PHEAA has drastically changed its Commonwealth-

focused business model into a national student loan servicer.

       28.     In 2009, PHEAA became one of four “Title IV” servicers to be awarded a Federal

Loan Servicing Contract by the Department of Education. PHEAA operates a national loan

servicing, lending, and guaranteeing business under two trade names: FedLoan, which exclusively

handles federally-owned student debt, and American Education Services. These businesses

collectively generate hundreds of millions of dollars in revenue each year. For example, in 2014,

PHEAA’s revenues exceeded $600 million, with net revenues of more than $220 million, and owned

net assets worth more than $700 million.

       29.     PHEAA is financially independent from the Commonwealth of Pennsylvania and

operates as a private business. In fact, PHEAA’s revenues are such that it has received no public

appropriations to support its operations since 1988. PHEAA also has the power to sue and be sued;

enter into contracts; and own, encumber, and dispose of real and personal property. Further, under

Pennsylvania law, PHEAA bears sole responsibility for its bonds and other debts and is authorized

to pursue student loan collection actions independently. These facts have led courts to find that

                                                  7
             Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 8 of 39



PHEAA is “a very wealthy corporation engaging in nationwide commercial student-loan financial-

services activities” and not an arm-of-the-state.1

                                        SUBSTANTIVE ALLEGATIONS

                    Background

                    A. Student Loan Debt

          30.       The average annual cost of higher education in the United States has increased at a

significantly greater rate than inflation for several decades. For example, a recent study by the

College Board shows that the inflation-adjusted cost of attending a private four-year, public four-

year, or public two-year institution has more than tripled since 1970.2

          31.       Students have increasingly come to rely on student loans to pay for higher education

as tuition, fees, and costs rise. Student loan debt is now the largest category of non-housing

consumer debt in the United States, with $1.34 trillion in loans outstanding as of June 30, 2017.3

          32.       The overwhelming majority of student loans (approximately 94%) are owned by the

federal government. The Department of Education primarily relies on four loan servicing companies

to assist in managing this debt: (1) PHEAA; (2) Great Lakes Higher Education Corporation; (3)

NelNet; and (4) Navient. According to data from the National Student Loan Data System

(“NSLDS”), PHEAA was the largest servicer of federally-owned student loans in the United States

as of September 30, 2016.




1See U.S. ex rel. Oberg v. Pennsylvania Higher Educ. Assistance Agency, 804 F.3d 646, 676–77 (4th Cir. 2015), cert. denied, 137 S.
Ct. 617 (2017); see also Pennsylvania Higher Educ. Assistance Agency v. NC Owners, LLC, No. 1:16-CV-1826, 2017 WL
2506397, at *2 (M.D. Pa. June 9, 2017); Lang v. Pennsylvania Higher Educ. Assistance Agency, 610 F. App’x 158, 160–63 (3d
Cir. 2015); Lang v. Pennsylvania Higher Education Assistance Agency, 201 F. Supp. 3d 613 (M.D. Pa. 2016).
2Tuition and Fees and Room and Board over Time, Table 2, (Released 2017), THE COLLEGEBOARD,
https://trends.collegeboard.org/college-pricing/figures-tables/tuition-fees-room-and-board-over-time.
3Quarterly Report on Household Debt and Credit, 2017:Q2 (Released August 2017), FEDERAL RESERVE BANK OF NEW
YORK, available at https://www.newyorkfed.org/medialibrary/interactives/householdcredit/data/pdf
/HHDC_2017Q2.pdf.

                                                                8
            Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 9 of 39



         33.      Loan servicers designated by the Department of Education are assigned loans taken

out by student borrowers when the loans are disbursed (i.e. funds are paid out to the student to

spend on tuition, housing, or supplies). Once the loan servicer is assigned a loan, it steps in for the

federal government to perform all tasks associated with loan repayment, such as collecting

payments, processing application and certification paperwork for ALRPs, responding to customer

service inquiries, providing loan documents to borrowers, enrolling borrowers in federal loan

repayment and forgiveness programs, handling applications for loan deferment or forbearance status

based on financial hardship, advising borrowers on their repayment plan options, and performing

other administrative tasks. Borrowers are assigned their loan servicer and cannot apply to switch to

another loan servicer.

         34.      The servicer receives a per-unit fee from the Department of Education for each loan

that it administers. That fee depends on the status of the loan and the total volume of loans from

the category being serviced. For example, PHEAA’s fee schedule in its 2009 loan servicing

agreement with the Department of Education is represented in the table below. This table includes a

“unit price,” or monthly payment, due to PHEAA4 for loans in 7 different status categories,

including “in-school status,” “grace or current repayment status,” “deferment or forbearance,” and

varying durations of delinquency:




4A recent annual financial statement, released in August 2016, states that PHEAA received $188.5 million for servicing a
portfolio of 7.5 million student loan borrowers in their Federal Loan Servicing (FLS) portfolio. This corresponds to an
average of roughly $2.09 per month for each borrower.

                                                           9
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 10 of 39



                 Status                      Volume Low         Volume High           Unit Price
 Borrowers in in-school status             N/A                 N/A                 $ 1.050
 Borrowers in grace or current             1                   3,000,000           $ 2.110
 repayment status
                                           3,000,001           UP                  $ 1.900
 Borrowers in deferment or                 1                   1,600,000           $ 2.070
 forbearance
                                           1,600,000           UP                  $ 1.730
 Borrowers 31-90 days delinquent           N/A                 N/A                 $ 1.620
 Borrowers 91-150 days delinquent          N/A                 N/A                 $ 1.500
 Borrowers 151-270 days delinquent         N/A                 N/A                 $ 1.370
 Borrowers 270+ days delinquent            N/A                 N/A                 $ 0.500

                                             FIGURE 1

       35.     As illustrated in Figure 1 above, PHEAA is compensated on a “per unit” basis, with

a directly proportional relationship between revenue and the number of borrowers that maintain an

active loan balance.

       36.     This fee structure gives PHEAA a financial incentive to maintain or increase the

number of borrowers in its portfolio, while minimizing the number of borrowers who successfully

earn loan forgiveness or otherwise discharge their loans.

               B. Alternative Loan Repayment Programs

       37.     One primary responsibility of loan servicers is to provide information about and

enroll borrowers in various federal loan repayment plans.

       38.     The most common student loan repayment plans are the Standard and Extended

repayment plans, which break the borrower’s obligation under the loan into equal monthly payments

over the course of 10 to 30 years. However, the federal government has created several Alternative

Loan Repayment Programs (“ALRPs”) to mitigate the burden on borrowers.

       39.     Though there are differences between ALRPs, they all have material factors in

common. For example, each ALRP requires the borrower to submit annual paperwork with the

borrower’s loan servicer that reports income, family size, and other information, which the loan


                                                  10
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 11 of 39



servicer is supposed to use to calculate payments. Unlike the Standard or Extended repayment plans,

each ALRP also provides paths to loan forgiveness.

        40.     Each ALRPs requires borrowers to make “qualifying monthly payments” in order to

qualify for loan forgiveness at the end of the term. For example, under the PSLF program, a

qualifying monthly payment is a payment made: (a) after October 1, 2007; (b) under a “qualifying

repayment plan,” including all Income Driven Repayment plans; (c) for the full amount due as

shown on the bill; (d) no later than 10 days after the due date; and (e) while employed by a

“qualifying employer.”5

        41.     Qualifying payments can only be made while the borrower is required to make a

payment. Therefore, a borrower cannot make qualifying payments while: (a) they are still in school;

(b) they are in the “grace period” before repayment starts (typically six months after graduation); or

(c) their loans are in either deferment or (d) forbearance status.

        42.     Additionally, the overarching goal of each ALRP is to make higher education more

affordable and ease the burden of student loan debt. The loan servicer’s role in administering the

program is to provide information and advice on programs available based on a borrowers’ income

and occupation and then notify borrowers of program requirements and assist them in processing

applications.

                         1.   IDR Programs

        43.     One group of ALRPs the Department of Education authorizes is known as Income

Driven Repayment or “IDR” plans. IDR plans set the borrower’s monthly student loan payments at

an amount that is intended to be affordable based on his or her income and family size. 6


5Public Service Loan Forgiveness, FEDERAL STUDENT AID: AN OFFICE OF THE U.S. DEPARTMENT OF EDUCATION,
https://studentaid.ed.gov/sa/repay-loans/forgiveness-cancellation/public-service#qualifying-payment.
6Income-Driven Plans, FEDERAL STUDENT AID: AN OFFICE OF THE U.S. DEPARTMENT OF E DUCATION,
https://studentaid.ed.gov/sa/repay-loans/understand/plans/income-driven.

                                                     11
            Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 12 of 39



         44.       Student loan borrowers who obtain loans from the federal government are eligible

for at least one IDR plan as long as it results in lower monthly payments than provided by the

Standard repayment plan (payments divided evenly over 10 years). As of June 2016, nearly 5.3

million borrowers were enrolled in IDR plans.7

         45.       IDR plans allow borrowers to cap loan payments at 10 to 20 percent of their income

and forgive any remaining debt after 20 or 25 years of payments, depending on the program.

         46.       However, as with the PSLF program described below, borrowers do not receive

credit for loan forgiveness in months where they are dis-enrolled because their loans are in

deferment, forbearance, or their application is being processed.

         47.       To enroll in an IDR plan, borrowers are required to submit an application, along

with proof of income and family size, to their loan servicer for review and processing. These

applications may be submitted online or via a paper application sent to the loan servicer. Either way,

loan servicers are supposed to process the applications within 10 business days.8

         48.       The Revised Pay As You Earn repayment plan (“REPAYE” plan) is the most recent

IDR program added by the Department of Education. This program is also designed to allow a

borrower to cap their monthly payments based on income.

         49.       Under REPAYE, a borrower’s payments are capped at 10 percent of their

discretionary income. Discretionary income is calculated by subtracting 150 percent of the state

poverty guideline for the borrower’s family size from the borrower’s gross after-tax income. If a

borrower’s monthly payment does not cover all the interest owed each month, the REPAYE plan



7Department of Education Releases New Public Service Loan Forgiveness Application Data, DEPARTMENT OF EDUCATION (Aug.
22, 2016), https://www.ed.gov/news/press-releases/department-education-releases-new-public-service-loan-
forgiveness-application-data.
8 See U.S. Department of Education, Memorandum from U.S. Department of Education Under Secretary Ted Mitchell on Policy Direction
on Federal Student Loan Servicing, DEPARTMENT OF EDUCATION (July 20, 2016), http://www2.ed.gov/documents/press-
releases/loan-servicing-policy-memo.pdf.

                                                               12
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 13 of 39



covers half of the unpaid interest. For those borrowers with subsidized loans, the REPAYE plan

covers all unpaid interest for first three years of the enrollment and half of the unpaid interest

thereafter. However, if a borrower leaves the REPAYE program, the unpaid interest will be

added to the borrower’s principal.

        50.     In conjunction with the PSLF program, REPAYE payments count toward the 120

qualifying payments required for loan forgiveness.

        51.     REPAYE also separately provides loan forgiveness for borrowers that do not quality

for PSLF. Undergraduate degree loans are forgiven under REPAYE after a borrower makes 20

years of eligible payments while balances for graduate and professional degrees, or a combination

of graduate and undergraduate degrees, are forgiven after 25 years of eligible payments.

        52.     Student borrowers who are on not on IDR plans are not eligible for loan

forgiveness.

                        2. PSLF Program

        53.     The PSLF program is an ALRP specifically designed to help make higher education

more affordable for those who work in public service, including teachers. Borrowers who enroll in

the PSLF program are entitled to loan forgiveness in as little as half the time as those enrolled in a

standard IDR plan. The PSLF Program allows borrowers who are employed in public service and

make 10 years of qualifying payments, i.e. 120 total monthly payments, under an IDR program to

earn forgiveness of the remaining balance on their student loans.

        54.     The purpose of the PSLF program is to encourage individuals to enter and continue

in full-time public service employment by offering a faster route to loan forgiveness, partially

offsetting the fact that public service employment typically offers a lower salary than private sector

employment.




                                                   13
           Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 14 of 39



          55.   In addition to making 120 payments, borrowers in the PSLF program must be

employed full-time in “qualifying employment.” Qualifying employment is employment in

government organizations at any level (federal, state, local, or tribal), tax-exempt not-for-profit

organizations, and other not-for-profit organizations that deliver qualifying public services (e.g.,

military service, law enforcement, public safety, public health, education, and legal services).

          56.   Borrowers must also be on a “qualifying repayment plans” to be eligible for loan

forgiveness under the PSLF program. Qualifying repayment plans include all of the IDR plans, but

do not include payments made under the Standard or Extended repayment plans.9

          57.   Many students who aspire to work in public service organizations take out student

loans and pursue careers in the public interest because they have been promised early loan

forgiveness under programs such as the PSLF program.

                        3.   TEACH Grant Program

          58.   The TEACH Grant program is a separate ALRP that provides grants to students

who take courses needed to become a teacher. TEACH Grant recipients must complete an

approved education program and maintain a 3.25 GPA while in school, during which they receive

up to $4,000 per year towards their tuition. They also agree to teach for four years after graduation

in a high need field (e.g., math, science, or foreign languages) at a school or educational service

agency that serves students from low-income families.

          59.   Upon graduation, TEACH Grants are not considered student debt and are excluded

from the borrower’s loan balance. However, to maintain grant status, recipients must submit annual

employment certification paperwork demonstrating that they are in fact teaching in a school or field

that meets the program’s requirements.




9   Id.

                                                   14
           Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 15 of 39



         60.      If the TEACH Grant borrower fails to complete the four-year service obligation

within eight years of graduation (or fails to begin service in the time needed to meet that time

frame), those grants are converted into Federal Direct Subsidized Loans, with interest accrued from

the date of original disbursement (while in school), and cannot be reconverted to a grant.10

                  PHEAA is Incentivized to Extend the Duration of Borrowers’ Loans

         61.      In 2009, PHEAA was one of four “Title IV” servicers to be awarded a Federal Loan

Servicing Contract by the Department of Education to service federally-owned loans nationally. The

Department of Education’s contract with PHEAA provides: “[i]t is the intent of the Department to

procure a performance-based contract(s) that promotes competition and provides best of business

services. To achieve this goal, the Department expects each servicer to provide commercially

available services that will yield high performing portfolios and high levels of customer satisfaction.”

         62.      As one of the Department of Education’s primary loan servicers, PHEAA acts as a

middle man between the student loan borrower and the lender—the federal government. In this

capacity, PHEAA is responsible not only for collecting and processing student loan payments but

also for providing other services, such as offering repayment plans, as well as advice and information

on repayment options and loan forgiveness programs available to borrowers.

         63.      PHEAA is responsible for implementing several government programs related to

student loan forgiveness. In 2012, the Department of Education awarded PHEAA an exclusive

contract to manage both the PSLF program and the TEACH Grant program through FedLoan.

PHEAA’s responsibilities under the PSLF and TEACH Grant programs include collecting

application paperwork, processing applications, and communicating with borrowers to ensure that

applications are complete.


10Teach Grant Program, DEPARTMENT OF EDUCATION (Feb. 2017),
https://studentaid.ed.gov/sa/sites/default/files/teach-grant.pdf.

                                                          15
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 16 of 39



        64.      This contract created a conflict of interest between PHEAA and the borrowers

whose loans it was supposed to service. While borrowers enroll in ALRPs to earn loan forgiveness

and maintain affordable monthly loan payments, PHEAA has the opposite incentive: to keep loans

active for as long as possible to continue earning servicing fees.

        65.      From PHEAA’s perspective, every time a student borrower repays her loan in full or

receives loan forgiveness under one of the federal programs it administers, PHEAA loses a loan

from its servicer portfolio, a vital source of its revenue.

        66.      PHEAA’s 2009 contract with the federal government also created a financial

incentive to place borrowers into deferment or forbearance status to further increase servicing fees.

For example, Figure 1 shows that the unit price PHEAA is compensated for servicing each loan

depends on its status (e.g., current repayment, deferment, or forbearance) and the total number of

loans in its portfolio that are part of the same category.

        67.      Under PHEAA’s 2009 contract, once the total amount of loans in active repayment

or grace period status exceeded 3,000,001, PHEAA received a lower unit price per loan in repayment

than it did for loans in deferment or forbearance. Thus, once the 3,000,001-loan threshold was

reached, each loan PHEAA moved from active repayment or grace period status into deferment or

forbearance generated additional revenue even though it prevented borrowers from making qualified

payments.

        68.      The Department of Education subsequently revised its contract with PHEAA in

2014 to remove this incentive by lowering the amount it paid for loans in deferment or forbearance

to below that of loans in active repayment.11 However, it maintained the same overall structure of




11See https://studentaid.ed.gov/sa/sites/default/files/fsawg/datacenter/library/ED-FSA-09-D-
0014_MOD_0072_PHEAA.pdf

                                                       16
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 17 of 39



compensating PHEAA based on the number of loans in its portfolio, continuing to motivate

PHEAA to ensure that borrowers remained in debt as long as possible.

         69.    Multiple data sources confirm that PHEAA enacted policies that align with its own

financial incentives, rather than the interests of borrowers it is supposed to serve. For example, the

federal government performs an evaluation each quarter to measure the performance of each of the

ten major loan servicers using a formula that factors in criteria, such as the “percentage of borrowers

in current repayment status,” the percentage of loans that have fallen into delinquency, and

borrower satisfaction with customer service.

         70.    In the evaluation covering the period ending December 31, 2016, PHEAA ranked

ninth of the ten servicers evaluated. Significantly, PHEAA had the lowest percentage of loans in

current repayment status, indicative of their scheme to prevent borrowers from paying off their

loans.

         71.    Consistent with this evaluation, the CFPB received numerous complaints from

borrowers whose loans were serviced by FedLoan, depicting a pattern of misconduct intended to

prevent loan repayment. For example, in an April 2017 Monthly Complaint Report, the CFPB

described that federal student loan borrowers complained of:

         (a) difficulty enrolling in income-driven repayment plans, reporting lost documentation,
         extended application processing times, and unclear guidance when seeking to switch from
         one income-driven payment plan to another;

         (b) difficulty completing recertification for their income-driven repayment plan, including
         lengthy processing times and insufficient information from their servicers to meet
         rectification deadlines;

         (c) overpayments being misapplied such that, instead of reducing the principal value of the
         loan, the payment was applied to future balances and placed the loan in “paid ahead status”
         rather than reducing the overall amount owed; and

         (d) failures in administering the PSLF and TEACH grant programs. For example, borrowers
         complained that delays in processing IDR plan enrollment and recertification blocked them
         from making qualifying repayments under the PSLF program. Other borrowers reported
         that they were denied loan forgiveness under the PSLF program or financial assistance under
                                                   17
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 18 of 39



        the TEACH grant program based on inaccurate employment data. Additionally, borrowers
        complained that after years of making payments they were informed that they were not
        enrolled in the PSLF program (despite having submitted application papers) because some
        of their loans had been previously consolidated.12

        72.     PHEAA was also the second most complained about student loan servicer in April

2017, experiencing a 269% year-over-year increase in complaints. At all times covered by the CFPB’s

April 2017 report, PHEAA, through FedLoan, was the exclusive loan servicer for borrowers

applying for PSLF loan forgiveness and TEACH grants. Thus, any complaints about the

administration of those programs were directed at PHEAA’s and FedLoan’s practices.

        73.     The Massachusetts Attorney General (“AG”) also sued PHEAA for similar

violations, stating that “PHEAA has positioned itself as a barrier to borrowers’ chances of long term

financial success” by failing to process applications under the PSLF and TEACH programs, costing

borrowers “months that should have counted towards their loan forgiveness causing them to lose

financial grants and further saddling them with debt.” The Massachusetts AG noted that its

investigation had found that PHEAA was “overcharging and misprocessing their applications for

Income Driven Repayment . . . plans that make borrowers’ monthly payments more affordable,”

depriving them of the opportunity to make qualifying payments towards loan forgiveness.

        74.     The Massachusetts AG also accuses PHEAA of improperly converting borrowers’

TEACH grants into loans:

                PHEAA has failed to process timely and properly teachers’ annual
                certification forms and does not provide teachers sufficient time to resubmit
                or correct forms when additional information is required. As a result,
                teachers who believe they have satisfied all of their logistical obligations
                associated with the paperwork for their TEACH Grants are unwittingly
                having their grants converted to loans. PHEAA’s failure to process TEACH
                Grant certification forms properly and timely forces upon teachers the
                financial burden of being required to pay back loans that they never intended

12Monthly Complaint Report, Vol. 22 (April 2017), THE CONSUMER FINANCIAL PROTECTION BUREAU,
http://files.consumerfinance.gov/f/documents/201704_cfpb_Monthly-Complaint-Report.pdf.



                                                     18
           Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 19 of 39



                   to take on in the first instance.13

         75.       Investigations by the Massachusetts AG, the CFPB, and first-hand accounts from

student borrowers, including Plaintiffs, show that PHEAA adopted a policy of prioritizing its own

financial best interests at the expense of the student loan borrowers by systematically failing to

administer government programs in the way intended by Congress, artificially increasing revenue

from servicing fees by keeping borrowers’ loans active longer.

                   PHEAA has a Policy Designed to Deny Borrowers the Benefits of the Loan
                   Forgiveness Programs in Violation of its Loan Servicing Contract.

         76.       PHEAA devised and implemented a scheme during the Class Period to deny

borrowers the benefits that Congress and the Department of Education intended for them when it

created the ALRPs. This scheme to deny and delay loan forgiveness was implemented through

multiple common practices, including: (a) creating obstacles to ALRP enrollment and repayment; (b)

providing false and misleading information or failing to provide necessary information to borrowers

on repayment plan eligibility and certification requirements; (c) processing payments incorrectly; (d)

processing application and recertification paperwork incorrectly; (e) failing to act when borrowers

complained; and (f) illegally cheating many struggling borrowers out of their rights to lower

payments, which caused them to overpay for their student loans.

         77.       PHEAA’s failure to provide accurate information and process ALRP applications

timely and properly deprived borrowers of the opportunity to make qualifying monthly payments

and meet qualifying service obligations necessary to obtain loan forgiveness. To accommodate its

processing delays, PHEAA puts borrowers’ accounts into deferment or forbearance status, which

does not serve as a “qualifying” payment for loan forgiveness under any ALRP. In at least some




 See Complaint, Commonwealth of Massachusetts v. Pennsylvania Higher Education Assistance Agency, d/b/a/ FedLoan Servicing,
13

No. 1784-cv-02682 (Mass. Supp., Aug. 23, 2017).

                                                             19
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 20 of 39



instances, this deferment or forbearance designation also increased the service fees collected by

PHEAA or caused interest to capitalize on the loan.

        78.     For example, many borrowers have reported that PHEAA “lost” their application

documents for ALRPs, only notifying them months later that they had not been enrolled in an

ALRP for which they were eligible and had properly applied. PHEAA placed these borrowers in

forbearance, frustrating borrowers’ ability to make loan repayments that count toward loan

forgiveness.

        79.     For some borrowers, PHEAA provided false or misleading information on their

eligibility for enrollment in ALRPs, preventing borrowers from enrolling in a plan that offered loan

forgiveness.

        80.     In other instances, PHEAA failed to enroll eligible applicants who submitted

complete applications in the appropriate ALRP because of unspecified “processing errors.”

        81.     For example, PHEAA significantly mishandled application processing for the

REPAYE plan, the newest ALRP plan, when it became available in December 2015. Its failure to

process applications timely and properly resulted in a lengthy application processing backlog that

delayed borrowers from staying on track with monthly payments that would count towards loan

forgiveness.

        82.     These borrowers, including public service employees and low-income borrowers,

therefore lost credit for months of qualifying payments or employment that would otherwise count

toward achieving loan forgiveness.

        83.     One student loan borrower eligible for both IDR and PSLF, and whose application

remained pending for months, submitted the following complaint to the CFPB explaining how

delays in processing applications created a financial hardship for her:

        This delay . . . is creating a hardship on me, as it is lengthening the amount of time I
        remain in debt and delays my final repayment date back as many months as [my
                                                   20
           Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 21 of 39



         servicer is] unable to get me into the new repayment plan. I am also enrolled in the
         Public Service Loan Forgiveness program, so the “clock” on my maximum 10-year
         repayment time span has essentially stopped.14

         84.       Such delays cost borrowers in many other ways as well. Economic analysis reveals

that income grows for workers as they remain in the workforce, peaking at roughly 25 years into

their career.15 Borrowers subject to unrequested forbearance forgo qualifying months at their present

income and family size and assume an obligation to make future monthly payments at the back end

of their loan forgiveness term (e.g. after 10 years for PSLF enrollees or 20 to 25 years for IDR

enrollees). These borrowers are forced to make higher payments at the end of their loan terms,

when they statistically earn a higher salary and the higher monthly loan payment that goes with it.

This increases the total lifetime cost of their loans.

         85.       Additionally, when PHEAA finally processes applications for ALRPs, it often

calculates an incorrect monthly payment.

         86.       On multiple occasions, these miscalculations caused borrowers to lose qualifying

payment months and erroneously prolonged borrowers’ loan repayment obligations.

         87.       In other instances, borrowers who submitted TEACH certification forms have

experienced PHEAA’s improper delay and refusal to process their required annual recertification. As

a result, many teachers who received TEACH grants, including Plaintiff Keegan, had their TEACH

grants improperly converted into loans, costing them thousands of dollars in new principal amounts

and thousands of dollars in interest.




14 Seth Frotman, Trying to enroll in an income-driven repayment plan? Avoid #ApplicationAbyss with our student loan tips and
resources, THE CONSUMER FINANCIAL PROTECTION BUREAU, https://www.consumerfinance.gov/about-us/blog/trying-
enroll-income-driven-repayment-plan-avoid-applicationabyss-our-student-loan-tips-and-resources.
15See Economic Analysis - Major Decisions: What Graduates Earn Over Their Lifetimes, Brad Hershbein and Melissa S. Kearney,
THE HAMILTON PROJECT (Sep. 29, 2014),
http://www.hamiltonproject.org/papers/major_decisions_what_graduates_earn_over_their_lifetimes.

                                                            21
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 22 of 39



       88.     For some borrowers, like Plaintiff Meckfessel, PHEAA provided false and

misleading information, telling them they were ineligible for IDR or PSLF programs, obstructing

them from enrolling in plans that would provide lower monthly payments and paths to loan

forgiveness.

       89.     When viewed in the context of PHEAA’s contract with the federal government and

its own financial incentives, PHEAA’s multiple failures reflect more than just gross incompetence.

They demonstrate a willful commitment to elevate its own revenues at the expense of the borrowers

who make up the Class by denying them credit toward loan forgiveness, placing them in deferment

or forbearance unnecessarily, and overcharging them on monthly payments.

               PHEAA’s Unlawful Policy Injured Plaintiffs

       90.     Plaintiffs are student loan borrowers whose loans are currently serviced by FedLoan.

       91.     Plaintiff Keegan enrolled in the TEACH and PSLF programs, along with a qualifying

IDR plan, through FedLoan during the Class Period. Plaintiff Meckfessel was eligible for the PSLF

and IDR programs during the Class Period, but prevented from enrolling for several years during

the Class Period due to the false and misleading information provided by FedLoan.

       92.     As alleged herein, PHEAA exploited each of these ALRPs to increase the duration

of Plaintiffs’ and Class members’ loans and generate additional servicing fees by, among other

things: (a) misprocessing certification forms; (b) misprocessing enrollment forms; (b) unnecessarily

placing borrowers’ accounts into deferment or forbearance status; (c) providing false and misleading

information regarding ALRP eligibility; (d) failing to process loan consolidation requests; and (d)

charging additional processing and administration fees to remove borrowers accounts from

unrequested deferment or forbearance.

       93.     This misconduct resulted in increased revenue for PHEAA at the expense of

Plaintiffs and Class members, who were injured when they lost credit for qualifying employment or

                                                  22
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 23 of 39



payments, were charged more than the qualifying monthly payments due under the applicable loan

programs, were obstructed from enrolling in ALRP programs, were provided false and misleading

information on loan payment and forgiveness programs, had their ALRP applications or

recertification forms misprocessed by PHEAA, had their grants converted into loans, and/or were

charged unnecessary and unlawful interest and fees as described in this Complaint.

        94.     Significantly, by increasing the duration of Plaintiffs’ and Class members’ loans,

PHEAA caused additional harm by inflating the total amount owed by these borrowers. For

example, loans placed into deferment or forbearance status continue to accrue interest even though

borrowers are unable to make qualifying loan payments at that time. Furthermore, when loans enter

deferment or forbearance, all outstanding interest is capitalized, increasing the borrower’s total debt

obligation or principal. Exacerbating the cost of this error, future interest payments are then

calculated on the newly increased principal amount, costing borrowers even more. PHEAA’s failure

to correctly process qualifying loan payments causes a similar effect, requiring borrowers to make

additional payments to achieve loan forgiveness. Likewise, by providing false and misleading

information on eligibility for ALRPs, PHEAA causes borrowers to make payments at higher rates

and extends the number of payments required to achieve loan forgiveness.

        95.     PHEAA’s systematic abuse of the federal programs it administers to achieve greater

revenue through increased servicing fees also disadvantaged Plaintiffs and Class members by

jeopardizing their ability to seek loan forgiveness in the future for payments made and service

obligations met during the Class Period. This systematic abuse further extended the duration of

Class members’ loans, causing financial harm by obligating them to make additional loan payments.

                                CLASS ACTION ALLEGATIONS

        96.     Plaintiffs brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of themselves and as representatives of the following Class:

                                                   23
              Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 24 of 39



         All persons whose student loans were serviced by FedLoan that enrolled in an ALRP
         program during the period of at least January 1, 2009 through the present (the “Class
         Period”).16

         97.      Excluded from the Class are Defendant, its officers, directors, management,

employees, subsidiaries, or affiliates. Also excluded from the Class is the Judge presiding over this

action, his or her law clerks, spouse, any other person within the third degree of relationship living in

the Judge’s household, the spouse of such person, and the United States Government.

         98.      The Class is so numerous and geographically dispersed that joinder is impracticable.

Further, the Class is readily identifiable from information and records in the Defendant’s possession.

         99.      Plaintiffs’ claims are typical of the claims of the other members of the Class.

Plaintiffs and the members of the Class sustained damages arising out of Defendant’s common

course of conduct in violation of law as complained of herein. The injuries and damages of each

member of the Class were directly caused by Defendant’s wrongful conduct in violation of the laws

as alleged herein.

         100.     Plaintiffs will fairly and adequately protect the interests of the members of the Class.

Plaintiffs are adequate representative of the Class and has no interest adverse to the interests of

absent Class members. Plaintiffs retained counsel competent and experienced in class action

litigation.

         101.     Common questions of law and fact exist as to all members of the Class, which

predominate over any questions affecting solely individual members of the Class. These common

questions of law and facts include, without limitation:

         1. Whether PHEAA has a common and pervasive practice of misprocessing, delaying, and
            obstructing enrollment and recertification for ALRPs;




16Plaintiffs have defined the Class based on currently available information and hereby reserve the right to amend the
definition of the Class, including, without limitation, the Class Period.

                                                           24
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 25 of 39



        2. Whether PHEAA’s misconduct caused injuries to Plaintiffs and the Class by causing
           them to make additional and unnecessary payments towards loans, interest, fees, and
           other charges;

        3. Whether PHEAA’s misconduct violates state consumer protection statutes;

        4. Whether PHEAA’s misconduct violates the common law.

        102.    A class action is superior to other methods for the fair and efficient adjudication of

this controversy because joinder of all Class members is impracticable. Treatment as a class action

will permit a large number of similarly situated persons to adjudicate their common claims in a single

forum simultaneously, efficiently, and without the duplication of effort and expense that numerous

individual actions would engender. Class treatment will also permit the adjudication of claims by

many Class members who could not individually afford to litigate claims such as those asserted in

this Complaint. The cost to the court system of adjudication of such individualized litigation would

be substantial. The prosecution of separate actions by individual members of the Class would create

a risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

Defendant.

        103.    Plaintiffs are unaware of any difficulties likely to be encountered in the management

of this action that would preclude its maintenance as a class action.

                                       CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF
                    (For Violation of New York General Business Law § 349)

        104.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

the same force and effect as if fully restated herein.

        105.    Plaintiff Keegan’s injuries and those of the Class arise from Defendant’s deceptive

business practices as a commercial student-loan servicer.




                                                    25
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 26 of 39



        106.    Plaintiff Keegan and Class members are consumers of Defendant’s federal student

loan services; their loans are serviced by Defendant and they applied through Defendant to take

advantage of the PSLF, IDR, and TEACH programs that Defendant administers.

        107.    As a consumer of Defendant’s services, Plaintiff Keegan is authorized to bring a

private action under New York General Business Law (“GBL”) § 349(h).

        108.    Defendant’s student loan servicing business qualifies as “business,” “trade,” and

“commerce” as defined by New York GBL § 349(a).

        109.    Defendant offered the TEACH, PSLF, and IDR programs to Plaintiff Keegan and

Class members, representing to them that it would administer those programs in accordance with

Department of Education guidelines and Congress’s intent of making higher education more

affordable for qualified borrowers like Plaintiff Keegan and the Class.

        110.    Contrary to Defendant’s representations during the Class Period and in order to

increase its own profits, Defendant failed to administer the PSLF, IDR, and TEACH programs

according to Department of Education guidelines and Congressional intent.

        111.    Specifically, Defendant failed to comply with DOE guidelines by, among other

things: (a) placing borrowers into deferment or forbearance who did not apply for or did not meet

the criteria for that status; (b) failing to process borrower applications for IDR plans, including

REPAYE, within the necessary 10-day period; (c) failing to enroll qualifying borrowers that

submitted applications for the PSLF, TEACH, and IDR programs; (d) failing to properly calculate

borrowers’ monthly payments under ALRPs at a level consistent with their income and family size;

(e) failing to process borrowers’ recertification forms under the PSLF and TEACH programs,

resulting in TEACH grants being incorrectly converted into loans.

        112.    Defendant’s deceptive and unfair loan servicing practices had a broad impact on

Plaintiff Keegan and all similarly situated federal student loan borrowers across the country.

                                                   26
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 27 of 39



       113.    Defendant’s practices, as set forth above, involve trade or commerce because they

present information regarding commercial services for the processing of applications and payments

under several federal ALRPs.

       114.    Defendant’s practices are materially misleading to a reasonable student loan

borrower because Defendant represents that its services have benefits consistent with DOE

guidelines, which Defendant fails to provide. By failing to carry out its federal loan programs as

advertised, Defendant created a likelihood of confusion and misunderstanding that affected the

public in violation of GBL § 349.

       115.    Defendant’s misconduct, including Defendant’s misrepresentations regarding its

practice of administrating the ALRPs in accordance with DOE guidelines, directly caused Plaintiff

Keegan and the Class pecuniary harm, including having their access to debt relief and loan

forgiveness delayed through the loss of qualifying payment months under ALRPs.

       116.    Additionally, Plaintiff Keegan and Class members had no meaningful choice and

were required to submit to Defendant’s practices because Defendant was their assigned loan servicer

and the exclusive provider of the PLSF and TEACH programs. Thus, Plaintiff Keegan and Class

members were required to stay with Defendant even when it engaged in fraudulent or deceptive

misconduct, for example, by converting TEACH Grants into loans after failing to process annual

employment recertification forms.

       117.    Plaintiff Keegan and the Class further seek to enjoin such unlawful, deceptive acts

and practices as described above. Each member of the Class will be irreparably harmed unless the

unlawful actions of the Defendant are enjoined, as Defendant will continue to distribute false and

misleading information regarding borrowers’ loans, process borrowers’ payments incorrectly, and

delay applications for PSLF, TEACH grant and IDR programs. Absent injunctive relief, Defendant

will continue to administer loans in a manner that harms consumers and directly conflicts their

                                                  27
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 28 of 39



representations as serving the best interest of borrowers and the intent of Congress, in accordance

with Department of Education guidelines, as detailed more fully herein.

                                 SECOND CLAIM FOR RELIEF
               (For Violation of Washington’s Consumer Protection Act (“WCPA”),
                                Wash. Rev. Code Ann. § 19.86 et seq.)

        118.     Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

the same force and effect as if fully restated herein.

        119.     At all times material to this complaint, Plaintiff Meckfessel and Class Members have

been entitled to the rights, protections, and benefits provided under the WCPA.

        120.     Defendant is a “person” within the meaning of the WCPA, Wash. Rev. Code Ann. §

19.86.010(1) and conducts “trade” and “commerce” within the meaning of the WCPA, Wash. Rev.

Code Ann. § 19.86.010(2).

        121.     Plaintiff Meckfessel and other Class members are “persons” within the meaning of

the WCPA, Wash. Rev. Code Ann. § 19.86.010(1), and the fees and payments wrongfully obtained

from Plaintiff and other Class members, along with the additional fees and payments they will be

required to make as a result of Defendant’s unfair and deceptive practices, constitute “assets” within

the meaning of the WCPA, Wash. Rev. Code Ann. RCW § 19.86.010(3).

        122.     As referenced in this complaint, Defendants injured Plaintiff Meckfessel and Class

members in their business or property. Plaintiff Meckfessel’s injuries and those of the Class arise

from Defendant’s unfair and deceptive practices, which occurred in the scope of Defendants’

conduct as a commercial student loan servicer to consumers residing in Washington State. These

acts and practices occurred in the conduct of Defendants’ trade and commerce in Washington State.

        123.     Defendant’s actions are unfair and/or deceptive within the meaning of the WCPA

Wash. Rev. Code Ann. § 19.86.010 et seq.




                                                    28
            Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 29 of 39



       124.     Defendant’s practices, as alleged herein, have the tendency or capacity to mislead

consumers because Defendant represents that it offers services, programs, and benefits consistent

with DOE guidelines, which Defendant fails to provide. Specifically, Defendant represents that it

provides accurate information and advice on payment plans and federal programs available to

borrowers but fails to do so, instead misleading borrowers and misrepresenting options available to

them in order to increase its own profits. Defendant also failed to comply with DOE guidelines by,

among other things: (a) placing borrowers into deferment or forbearance who did not apply for or

did not meet the criteria for that status; (b) failing to process borrower applications for IDR plans,

including REPAYE, within the necessary 10-day period; (c) failing to enroll qualifying borrowers

that submitted applications for the PSLF, TEACH, and IDR programs; (d) failing to properly

calculate borrowers’ monthly payments under ALRPs at a level consistent with their income and

family size; (e) failing to process borrowers’ recertification forms under the PSLF and TEACH

programs, resulting in TEACH grants being incorrectly converted into loans; (f) providing false and

misleading information on borrowers’ eligibility for the PSLF, TEACH, and IDR programs; (g)

providing false and misleading information on payment plans available to borrowers. These acts and

practices are all deceptive and misleading.

        125.    Defendant’s practices are unfair in that they offend public policy, are immoral,

unethical, oppressive, unscrupulous, or cause substantial injury to consumers, competitors or other

businesses. Defendant’s unfair or deceptive acts or practices occurred in their trade or business and

were capable of injuring or deceiving a substantial portion of the public in violation of Wash. Rev.

Code Ann. § 19.86.020. Defendant’s general course of conduct has an impact on the public interest

and the acts complained of herein are ongoing and/or have a substantial likelihood of being

repeated.




                                                   29
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 30 of 39



        126.    Defendant’s misconduct, including its misrepresentations regarding (a) the eligibility

requirements and criteria for enrollment in ALRPs and (b) administration of the ALRPs in

accordance with DOE guidelines, directly caused Plaintiff Meckfessel and the Class pecuniary harm,

including by increasing the amount of their loan or number of payments due and having their access

to debt relief and loan forgiveness delayed through the loss of qualifying payment months under

ALRPs.

        127.    Due to the nature by which consumers’ loans are assigned to servicers, Plaintiff

Meckfessel and Class members lacked choice or ability to change service providers. Plaintiffs were

thus required to remain with Defendant and submit to Defendant’s practices even when it engaged

in fraudulent or deceptive misconduct.

        128.    Plaintiff Meckfessel and the Class further seek to enjoin such unlawful, deceptive

acts and practices as described above. Each member of the Class will be irreparably harmed unless

the unlawful actions of the Defendant are enjoined because Defendant will continue to provide false

and misleading information, process paperwork inappropriately, calculate payments improperly, and

place borrowers’ accounts into deferment or forbearance without permission, causing significant

economic harm to Plaintiffs and the Class, as detailed more fully herein.

                              THIRD CLAIM FOR RELIEF
   (For Violation of Pennsylvania’s Unfair Trade Practices and Consumer Protection Law
                                   73 P.S. § 201-1 et seq.)

          129. Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

the same force and effect as if fully restated herein.

          130. Plaintiffs’ injuries and those of the Class arise from Defendant’s deceptive

business practices as a commercial student-loan servicer.

          131. Plaintiffs and Class members are consumers of Defendant’s federal student




                                                    30
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 31 of 39



loan services; their loans are serviced by Defendant and they applied through Defendant to take

advantage of the PSLF, IDR, and TEACH programs that Defendant administers.

           132. As a consumer of Defendant’s services, Plaintiff is authorized to bring a

private action under Pennsylvania’s UTPCPL 73 P.S. § 201-9.2.

           133. Pursuant to Pennsylvania’s UTPCPL, 73 P.S. § 201-2(3):

         “Trade” and “commerce” mean “the advertising, offering for sale, sale or
         distribution of any services and any property, tangible or intangible, real, personal or
         mixed, and any other article, commodity, or thing of value wherever situate, and
         includes any trade or commerce directly or indirectly affecting the people of this
         Commonwealth.”

           134. Defendant offered the PSLF, IDR, and TEACH programs to Plaintiffs Keegan,

Meckfessel, and Class members, representing to them that it would administer those programs in

accordance with Department of Education guidelines and Congress’s intent of making higher

education more affordable for qualified borrowers, including Plaintiffs Keegan, Meckfessel, and the

Class.

           135. Contrary to Defendant’s representations during the Class Period, Defendant failed to

administer the PSLF, IDR, and TEACH programs according to Department of Education

guidelines and Congress’ intent so that it could increase its profits.

           136. Specifically, Defendant failed to comply with DOE guidelines by, among other

things: (a) placing borrowers into deferment or forbearance who did not apply for or did not meet

the criteria for that status; (b) failing to process borrower applications for IDR plans, including

REPAYE, within the necessary 10-day period; (c) failing to enroll qualifying borrowers that

submitted applications into the PSLF, TEACH, and IDR programs; (d) failing to properly calculate

borrowers’ monthly payments under ALRPs at a level consistent with their income and family size;

(e) providing false and misleading information regarding the PSLF, TEACH, and IDR programs, (f)




                                                    31
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 32 of 39



failing to process borrowers’ recertification forms under the PSLF and TEACH programs, resulting

in TEACH grants being incorrectly converted into loans.

          137. Defendant’s practices, as set forth above, involve trade or commerce because they

present information regarding commercial services for the processing of applications and payments

under several federal ALRPs. These practices are fraudulent or deceptive because Defendant

represents that its services have benefits consistent with DOE guidelines, which it fails to provide.

          138. Plaintiffs Keegan, Meckfessel, and Class members relied on Defendant’s

misrepresentations regarding its practice of administrating the ALRPs in accordance with DOE

guidelines.

          139. Additionally, Plaintiffs Keegan, Meckfessel and Class members had no meaningful

choice and were required to submit to Defendant’s practices because Defendant was their assigned

loan servicer and the exclusive provider of the PLSF and TEACH programs. Thus, Plaintiffs

Keegan, Meckfessel and Class members were required to stay with Defendant even when it engaged

in fraudulent or deceptive misconduct, for example, preventing them from taking advantage of the

PSLF program by placing their loans in unrequested periods of deferment or forbearance.

          140. Defendant’s acts cost Plaintiffs Keegan, Meckfessel and the Class ascertainable

monetary losses in the form of increased payments, payment of deferment or forbearance fees,

increased interest, and extended time until Keegan and Class members qualified for loan forgiveness,

causing Plaintiff Keegan and the Class to incur additional payment obligations before the end of

their loan terms.

          141. Defendant’s conduct was addressed to the market generally and otherwise implicates

consumer protection concerns and, therefore, a consumer nexus exists in that:

                a. Defendant’s fraudulent or deceptive conduct in collecting student loan
                   payments; supplying vague, incorrect, and misleading information;
                   delaying Plaintiffs’ and Class members’ paperwork; failing to return
                   Plaintiffs and Class members to the correct plan; and utilizing a
                                                  32
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 33 of 39



                     paperwork and information processing system that is intentionally
                     ineffective and inefficient; and

                b. Defendant’s fraudulent or deceptive conduct otherwise implicates
                   consumer protection concerns including, but not limited to, promoting
                   fair and upright business practices.

          142. Defendant’s failure to carry out these federal loan programs as advertised created a

likelihood of confusion and misunderstanding in violation of the UTPCPL.

          143. Plaintiffs Keegan, Meckfessel and the Class suffered harm as a result of Defendant’s

fraudulent or deceptive conduct, including having their access to debt relief and loan forgiveness

delayed through the loss of qualifying payment months under ALRPs.

          144. Plaintiffs and the Class further seek to enjoin such unlawful, deceptive acts

and practices as described above. Each member of the Class will be irreparably harmed unless the

unlawful actions of the Defendant are enjoined, as Defendant will continue to distribute false and

misleading information regarding borrowers’ loans, process borrowers’ payments incorrectly, and

delay applications for PSLF, TEACH grant and IDR programs. Absent injunctive relief, Defendant

will continue to administer loans in a manner that harms consumers and directly conflicts their

representations as serving the best interest of borrowers and the intent of Congress, in accordance

with Department of Education guidelines, as detailed more fully herein.

                                 FOURTH CLAIM FOR RELIEF
                                    (For Breach of Contract)

        145.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

the same force and effect as if fully restated herein.

        146.    Defendant entered into a contract with the Department of Education on June 17,

2009 (“Contract”).

        147.    Under the terms of the Contract, Defendant is responsible for servicing the student

loans incurred by the Class in return for payments from the Department of Education.

                                                    33
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 34 of 39



        148.     Plaintiffs and the Class, as borrowers whose loans are serviced by Defendant, are the

intended beneficiaries of the Contract between the Defendant and the Department of Education.

        149.     Defendant materially breached the Contract when it engaged in the course of

conduct intended to delay or otherwise fail to process applications under ALRPs as described in Part

III, supra. For example, the Contract provides:

        The servicer shall respond to written and email questions and requests timely and accurately.
        The servicer shall respond and resolve customer complaints; and create and execute a plan to
        escalate complaints to FSA and the Ombudsman.
        …
        Review and Reconciliation: Records are examined and reconciled to determine that
        transactions were properly processed and approved.

        150.     Plaintiffs and Class members relied on the Contract when repaying their loans.

Plaintiff and Class members trusted and relied on PHEAA to fulfill its obligations under the

contract in the role of Plaintiffs’ loan servicer, including properly processing IDR, PSLF, and

TEACH Grant applications and certification forms, providing truthful and accurate information

regarding those programs, offering advice in the best interest of borrowers, properly calculating

payments, and keeping borrowers’ accounts out of forbearance and deferment unless requested.

        151.     Defendant’s breach of the Contract damaged Plaintiffs and the Class, as more

particularly alleged in Part III, supra.

                                     FIFTH CLAIM FOR RELIEF
                                       (For Unjust Enrichment)

        152.     Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

the same force and effect as if fully restated herein.

        153.     Defendant accepted millions of dollars in payments under the terms of its contract

with the federal government to compensate it for administering ALRPs to Plaintiffs and the Class.

        154.     Plaintiffs and the Class have conferred a benefit on Defendant in at least the

following ways: (a) by paying additional and unnecessary fees due to delays in processing their

                                                    34
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 35 of 39



applications for the PSLF, TEACH, and IDR programs; and (b) generating servicing fees for

Defendant pursuant to its contract with the Department of Education.

        155.     Defendant has been able to retain the benefits conferred by Plaintiffs and Class

members by maintaining its current unlawful practices, as set forth above, and by retaining

payments, fees, or other monies that Defendant did not lawfully or justly earn and does not deserve.

        156.     Defendant failed to perform the services for which it was paid and has thus been

unjustly enriched at Plaintiffs’ and Class members’ expense.

        157.     Because Defendant wrongfully obtained the benefit at the expense of Plaintiffs and

Class members through unlawful and inequitable conduct, Defendant is obligated to disgorge back

to Plaintiffs and Class members all amounts by which Defendant has been unjustly enriched.

                                   SIXTH CLAIM FOR RELIEF
                                          (For Fraud)

        158.     Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

the same force and effect as if fully restated herein.

        159.     As alleged herein, Defendant made material factual misrepresentations concerning its

administration of the PSLF, IDR, and TEACH programs in accordance with DOE guidelines.

        160.     Plaintiffs and the Class relied on Defendant’s misstatements when they enrolled in

ALRP programs serviced by PHEAA and made qualified payments in reliance on Defendant’s

misstatements.

        161.     Defendant also made false representations to the Department of Education when it

agreed to service ALRP loans in accordance with federal law and associated regulations, despite

having no intention of changing its policy to comply with these laws. Defendant knew and intended

that these misrepresentations would cause Plaintiffs and the Class to rely on them in enrolling in

loan programs and submitting payments to PHEAA, enabling Defendant to continue receiving

payments for servicing these loans.
                                                    35
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 36 of 39



        162.    Defendant represented that it would properly administer the ALRP programs

knowing or believing that those representations were false. Plaintiffs and the Class were justified in

relying on Defendant’s representations as a loan servicer selected by the Department of Education,

and in many instances the only loan servicer authorized to carry out the relevant ALRP. Plaintiffs

and the Class were injured as a result.

                                 SEVENTH CLAIM FOR RELIEF
                                    (For Constructive Fraud)

        163.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

the same force and effect as if fully restated herein.

        164.    Defendant, as a student loan servicer, has a confidential and/or fiduciary relationship

with Plaintiffs and Class members. For example, Plaintiffs and members of the Class are required to

furnish Defendant private, confidential information, including family status, income information,

and tax information.

        165.     Defendant represents to Plaintiffs, the Class, the public, and Congress that

Defendant acts in the best interest of student loan borrowers, including providing them advice,

information and other tools to “help” or assist them in choosing the “right” or “best” repayment

plan for themselves in accordance with Defendant’s contract with the Department of Education.

        166.    As such, Defendant acts in a position of advisor or counselor and represents that it

will act in good faith in the interests of Plaintiffs and the Class.

        167.    Further, the relative position of the Defendant and student loan borrowers, including

Plaintiffs and the Class, is such that Defendant has the power and means to take advantage of or

exercise undue influence over Plaintiffs and Class members.

        168.    For example, Plaintiffs and the Class were assigned to PHEAA to service and

process their ALRPs, putting Defendant in a position where it could exploit Plaintiffs and Class

members without any recourse.
                                                     36
          Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 37 of 39



        169.    To increase its profits, Defendant exploited its relationship with Plaintiffs and the

Class by making representations and engaging in misconduct that breached this confidential or

fiduciary relationship. As such, Defendant is operating in a way most beneficial to itself and in a

manner directly opposite to the interests of Plaintiffs and Class members, despite holding itself out

as acting in the best interest of the student loan borrower.

        170.    Defendant’s breach of its confidential or fiduciary relationship was the direct and

proximate cause of the injuries suffered by Plaintiffs and the Class, including the extra fees, interest,

and payments imposed upon them so that Defendant would receive additional monthly payments,

interest subsidies and special allowance payments to which it would not otherwise be entitled.

                                   EIGTH CLAIM FOR RELIEF
                                 (For Negligent Misrepresentation)

        171.    Plaintiffs re-allege and incorporate the preceding allegations of this Complaint with

the same force and effect as if fully restated herein.

        172.    Defendant, as Plaintiffs’ and Class members’ assigned student loan servicer, had a

duty to accurately represent how it would administer the ALRPs, including PSLF, IDR, and TEACH

programs for which it was responsible.

        173.    Rather than provide accurate information, Defendant, in the course of its business,

profession or employment, supplied false information to Plaintiffs and the Class, including through

monthly statements, emails, and its website, representing that it administers the ALRPs in

accordance with DOE guidelines.

        174.    Defendant knew or should have known at that time that it was not in compliance

with DOE guidelines and that its pervasive and systematic failure to correctly process borrower

applications, payments, and or otherwise administer the ALRPs under its responsibility, created

obstacles to repayment.



                                                    37
         Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 38 of 39



        175.    Plaintiffs and the Class justifiably relied on this false information (as Defendant

intended) and, as a result, incurred extra fees, interest, and payments or otherwise had the duration

of their loans extended.

        176.    This unlawfully increased Defendant’s revenue by resulting in additional monthly

servicing payments, interest, subsidies, and special allowance payments that it would not be entitled

to had it properly administered ALRPs to Plaintiffs and the Class.

                                          PRAYER FOR RELIEF

        Accordingly, Plaintiffs demands relief as follows:

        A.      That the Court certify this lawsuit as a class action pursuant to Rules 23 of the

Federal Rules of Civil Procedure, that Plaintiffs be designated as the Class Representatives, and that

Plaintiffs’ counsel, Lowey Dannenberg, P.C., be appointed as Class counsel;

        B.      That the unlawful conduct alleged herein be adjudged and decreed to violate the

New York GBL § 349 et seq.; the Wash. Rev. Code Ann. § 19.86.090 et seq.; the Pennsylvania,

UTPCPL 73 P.S. § 201-1 et seq.;

        C.      That the Court award Plaintiffs and the Class damages for Defendant’s violation of

the New York GBL § 349 et seq.; the Wash. Rev. Code Ann. § 19.86.090 et seq., and the Pennsylvania

UTPCPL 73 P.S. § 201-1 et seq., including punitive and treble damages, as provide by law.

        D.      That the Court issue an injunction restraining Defendant from continuing to engage

in the fraudulent or deceptive trade practices alleged herein;

        E.      That the unlawful conduct alleged herein be adjudged and decreed to violate the

common law as alleged in counts four through eight, above;

        F.      For a judgment awarding Plaintiffs and the Class damages, including punitive

damages, for Defendant’s violation of the common law;




                                                   38
             Case 2:18-cv-01143-CDJ Document 1 Filed 03/19/18 Page 39 of 39



        G.       That the Court order Defendant to disgorge its ill-gotten gains for restitution to

Plaintiffs and the Class;

        H.       That the Court award Plaintiffs and the Class their costs of suit, including reasonable

attorneys’ fees and expenses, including expert fees, as provided by law;

        I.       That the Court award Plaintiffs and the Class prejudgment interest at the maximum

rate allowable by law; and

        J.       Such other and further relief as the Court may deem just and proper.

                                   DEMAND FOR A JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs respectfully

demands a trial by jury of all issues so triable.

Dated: White Plains, New York
       March 19, 2018

                                                         LOWEY DANNENBERG, P.C.

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                                                    39
